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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            Criminal No.1:22-mj-203-2

        v.

PAUL EWALD LOVLEY,

                       Defendant.


                                            ORDER

        Based upon the representations in the Joint Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

        ORDERED that the Motion is GRANTED; it is further

        ORDERED that the currently scheduled status hearing on November 15, 2022 be

continued for good cause until February 14, 2023 at 1:00 PM; and it is further

        ORDERED that the time between November 15, 2022 and February 14, 2023 shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial, as a continuance will provide the

government time to produce discovery and additional time for the parties to discuss a potential

pretrial resolution.


                                                                          G. Michael Harvey
                                                                          2022.11.14
                                                                          17:29:15 -05'00'

                                             THE HONORABLE G. MICHAEL HARVEY
                                             UNITED STATES MAGISTRATE JUDGE
